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                      UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA



  JOHN DOE                                                        CIVIL ACTION

  VERSUS

  LOUISIANA STATE UNIVERSITY                              NO. 20-00379-BAJ-RLB
  C/O THOMAS C. GALLIGAN, JR.,
  INTERIM PRESIDENT, ET AL.

                                    JUDGMENT

      Considering Plaintiffs’ Notice of Voluntary Dismissal pursuant to Rule

41(a)(1)(A)(i) (Doc. 30),

      IT IS ORDERED, ADJUDGED and DECREED that Plaintiff’s claims be

and are hereby DISMISSED WITHOUT PREJUDICE.



                            Baton Rouge, Louisiana, this 23rd day of September, 2020



                                        _____________________________________
                                        JUDGE BRIAN A. JACKSON
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
